Case 3:17-cv-00072-NKM-JCH Document 511-17 Filed 07/02/19 Page 1 of 2 Pageid#:
                                   5481




       EXHIBIT 16
Case 3:17-cv-00072-NKM-JCH Document 511-17 Filed 07/02/19 Page 2 of 2 Pageid#:
                                   5482


   From                Michael Bloch
   To:                 hoope.ecf@vawd.uscourts.oov;      KarenD@vawd,uscoufts.oov
   Cc:                 Robefta Kaplan; Julie Fink; "Levine. Alan"; "Mills. David"; "Bowman. Philip M."; "Rottenborn. Ben"; "Karen Dunn";
                       "Jessica Phillios"; "William Isaacson"; Gabrielle E. Tenzer; Edward ReBrook. ESO; John DiNucci; Bryan Jones;
                       David Campbell; James Kolenich; eli.f.moslev@gmail.com; dillon hooner@protonmail.com;
                       matthew.w,heimbach@omail.com
   Subject:            Sines v. Kessler, Case No. L7 Civ 72
   Date                Wednesday, June 19, 2019 8:55:12       PM
   Attachments:        Exhibit 1.odf



   Dear Judge Hoppe:


   We are writing to alert Your Honor to messages recently posted on social media by Defendant
   Ch ristopher Ca ntwel l, th reaten i ng Plai ntiffs' cou nsel, Roberta Ka pla n.



   Yesterday, Mr. Cantwell posted the following in reference to Ms. Kaplan: "After this stupid kike
   whore loses this fraudulent lawsuit, we're going to have a lot of fucking fun with her." A screenshot
   of his post is attached.

   At a minimum, this sort of conduct obviously undermines the integrity of the judicial process, and we
   intend to submit a more formal request for appropriate relief shortly. ln the meantime, because this
   implicates the security concerns that we have previously raised and that we expect will be a
  continuing issue throughout this litigation, we wanted to bring this to Your Honor's immediate
  attention. We will be prepared at the next conference to discuss additional security measures that
  we believe will be necessary as this case proceeds toward trial.


   Respectfu ly su bmitted,
              I




  Michael Bloch I Kaplan Hecker & Fink LLP
  Counsel
  35o Fifth Avenue I Suite 7uo
  NewYork, NewYork rorrS
  (W) qzq..q6z.46z. l (M) 6a6.qq8.oqac
  mbloch@kaplanhecker.com
